       Case 1:18-cv-02340-RJL Document 56 Filed 02/13/19 Page 1 of 38



                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA et al.,

                 Plaintiffs,
                                           Case No. 1:18-cv-02340-RJL
v.

CVS HEALTH CORPORATION

and

AETNA INC.,

                 Defendants.



               RESPONSE OF PLAINTIFF UNITED STATES TO
         PUBLIC COMMENTS ON THE PROPOSED FINAL JUDGMENT
             Case 1:18-cv-02340-RJL Document 56 Filed 02/13/19 Page 2 of 38




                                                 TABLE OF CONTENTS
I.    Introduction.............................................................................................................................. 1 
II.  Procedural History ................................................................................................................... 2 
III.  Standard of Judicial Review .................................................................................................... 2 
IV.  The Investigation, the Harm Alleged in the Complaint, and the Proposed Final
     Judgment .................................................................................................................................. 8 
V.  Summary of Public Comments and the United States’ Response ......................................... 12 
      A.  Comments Regarding WellCare’s Suitability as a Divestiture Buyer and
          Ability to Compete Effectively....................................................................................... 13 
             1.  WellCare is an experienced and effective competitor. ............................................ 13 
             2.  WellCare is an independent competitor to CVS. ..................................................... 17 
             3.  Prior health insurance merger remedies do not cast doubt on the
                 divestiture. ............................................................................................................... 19 
             4.  The remedy does not create new structural concerns in the markets
                 for individual PDPs. ................................................................................................ 21 
             5.  The licensing provisions related to the Aetna brand protect WellCare’s
                 ability to compete using the divested assets. ........................................................... 23 
             6.  The sales price does not cast doubt on WellCare’s intention to compete. .............. 23 
      B.  Comments Related to the Vertical Aspects of CVS’s Acquisition of Aetna ................... 24 
             1.  Input foreclosure is unlikely to occur and is beyond the scope of
                 the Complaint. ......................................................................................................... 26 
             2.  Customer foreclosure is unlikely to occur and is beyond the scope of
                 the Complaint. ......................................................................................................... 27 
             3.  Vertical concerns are not addressable under the Tunney Act’s standard
                 of review. ................................................................................................................. 29 
      C.  Other Miscellaneous Comments..................................................................................... 30 
      D.  Comments in Support of the Merger .............................................................................. 34 
VI.  Conclusion ............................................................................................................................. 35 
            Case 1:18-cv-02340-RJL Document 56 Filed 02/13/19 Page 3 of 38



                                       I.    Introduction

       As required by the Antitrust Procedures and Penalties Act (the “APPA” or “Tunney Act”),

15 U.S.C. §§ 16(b)–(h), the United States hereby responds to the public comments received

about the proposed Final Judgment in this case. After careful consideration of the comments, the

United States continues to believe that the proposed remedy will address the harm alleged in the

Complaint and is therefore in the public interest.

       The remedy preserves competition for the approximately 21 million beneficiaries who

purchase individual prescription drug plans (“individual PDPs”) in the United States. The

remedy fully addresses the competitive threat posed by the merger by requiring CVS to divest

Aetna’s nationwide individual PDP business to WellCare Health Plans, Inc., an experienced

health insurer focused on government-sponsored health plans, including individual PDPs. By

requiring a nationwide divestiture, the remedy provides WellCare with the assets and scale

necessary to maintain competition in the 16 regions identified in the Complaint. The remedy also

provides WellCare with access to all of the records, employees, and other rights necessary to

ensure that WellCare can step into Aetna’s shoes. The remedy thus preserves the competition that

otherwise would be lost through the merger and ensures that WellCare will effectively replace

Aetna as an independent and vigorous competitor.

       The United States received 173 comments about the proposed remedy reflecting a wide

range of views. Some comments supported the merger. Other comments acknowledged the

significant scope of the divestiture, but expressed concerns about the divestiture buyer. Many

comments raised issues that are outside the scope of the Tunney Act review. After careful

consideration of these comments, the United States maintains that the remedy in the proposed

Final Judgment provides comprehensive relief that satisfies the Tunney Act’s public-interest

standard.


                                               –1–
         Case 1:18-cv-02340-RJL Document 56 Filed 02/13/19 Page 4 of 38



       The United States will publish the comments and this response on the Antitrust

Division’s website and is submitting to the Federal Register this response and the website

address at which the comments may be viewed and downloaded, as authorized by the Court’s

order dated February 9, 2019. Following Federal Register publication, the United States will

move the Court to enter the proposed Final Judgment.

                                   II.   Procedural History

       On December 3, 2017, CVS entered into an agreement to acquire Aetna in a merger

valued at approximately $69 billion. On October 10, 2018, the United States filed a civil antitrust

Complaint seeking to enjoin CVS from acquiring Aetna because the proposed acquisition would

substantially lessen competition for the sale of individual PDPs in 16 regions in the United States

in violation of Section 7 of the Clayton Act, 15 U.S.C. § 18.

       Simultaneously with the filing of the Complaint, the United States filed a proposed Final

Judgment, a Stipulation signed by the parties that consents to entry of the proposed Final

Judgment after compliance with the requirements of the Tunney Act, and a Competitive Impact

Statement describing the transaction and the proposed Final Judgment. The United States caused

the Complaint, the proposed Final Judgment, and Competitive Impact Statement to be published

in the Federal Register on October 17, 2018, see 83 Fed. Reg. 52558 (October 17, 2018), and

caused notice regarding the same, together with directions for the submission of written

comments relating to the proposed Final Judgment, to be published in The Washington Post on

October 12–18, 2018. The 60-day period for public comment ended on December 17, 2018.

                            III.    Standard of Judicial Review

       The Clayton Act, as amended by the APPA, requires that proposed consent judgments in

antitrust cases brought by the United States be subject to a 60-day comment period, after which



                                               –2–
         Case 1:18-cv-02340-RJL Document 56 Filed 02/13/19 Page 5 of 38



the court shall determine whether entry of the proposed Final Judgment “is in the public

interest.” 15 U.S.C. § 16(e)(1). In making that determination, the court, in accordance with the

statute as amended in 2004, is required to consider:

       (A)     the competitive impact of such judgment, including termination of alleged
               violations, provisions for enforcement and modification, duration of relief
               sought, anticipated effects of alternative remedies actually considered,
               whether its terms are ambiguous, and any other competitive considerations
               bearing upon the adequacy of such judgment that the court deems
               necessary to a determination of whether the consent judgment is in the
               public interest; and

       (B)     the impact of entry of such judgment upon competition in the relevant
               market or markets, upon the public generally and individuals alleging
               specific injury from the violations set forth in the complaint including
               consideration of the public benefit, if any, to be derived from a
               determination of the issues at trial.

15 U.S.C. § 16(e)(1)(A) & (B). In considering these statutory factors, the court’s inquiry is

necessarily a limited one as the government is entitled to “broad discretion to settle with the

defendant within the reaches of the public interest.” United States v. Microsoft Corp., 56 F.3d

1448, 1461 (D.C. Cir. 1995); see generally United States v. SBC Commc’ns, Inc., 489 F. Supp. 2d

1 (D.D.C. 2007) (assessing public-interest standard under the Tunney Act); United States v. U.S.

Airways Group, Inc., 38 F. Supp. 3d 69, 75 (D.D.C. 2014) (explaining that the “court’s inquiry is

limited” in Tunney Act settlements); United States v. InBev N.V./S.A., No. 08-1965 (JR), 2009

U.S. Dist. LEXIS 84787, at *3 (D.D.C. Aug. 11, 2009) (noting that the court’s review of a

consent judgment is limited and only inquires “into whether the government’s determination that

the proposed remedies will cure the antitrust violations alleged in the complaint was reasonable,

and whether the mechanism to enforce the final judgment are clear and manageable”).

       As the U.S. Court of Appeals for the District of Columbia Circuit has held, under the

APPA a court considers, among other things, the relationship between the remedy secured and




                                               –3–
           Case 1:18-cv-02340-RJL Document 56 Filed 02/13/19 Page 6 of 38



the specific allegations in the government’s complaint, whether the decree is sufficiently clear,

whether its enforcement mechanisms are sufficient, and whether the decree may positively harm

third parties. See Microsoft, 56 F.3d at 1458–62. With respect to the adequacy of the relief

secured by the decree, a court may not “engage in an unrestricted evaluation of what relief would

best serve the public.” United States v. BNS, Inc., 858 F.2d 456, 462 (9th Cir. 1988) (quoting

United States v. Bechtel Corp., 648 F.2d 660, 666 (9th Cir. 1981)); see also Microsoft, 56 F.3d at

1460–62; United States v. Alcoa, Inc., 152 F. Supp. 2d 37, 40 (D.D.C. 2001); InBev, 2009 U.S.

Dist. LEXIS 84787, at *3. Instead:

         [t]he balancing of competing social and political interests affected by a proposed
         antitrust consent decree must be left, in the first instance, to the discretion of the
         Attorney General. The court’s role in protecting the public interest is one of insuring
         that the government has not breached its duty to the public in consenting to the
         decree. The court is required to determine not whether a particular decree is the one
         that will best serve society, but whether the settlement is “within the reaches of the
         public interest.” More elaborate requirements might undermine the effectiveness of
         antitrust enforcement by consent decree.

Bechtel, 648 F.2d at 666 (emphasis added) (citations omitted).1

         In determining whether a proposed settlement is in the public interest, a district court

“must accord deference to the government’s predictions about the efficacy of its remedies, and

may not require that the remedies perfectly match the alleged violations.” SBC Commc’ns, 489 F.

Supp. 2d at 17; see also U.S. Airways, 38 F. Supp. 3d at 74–75 (noting that a court should not

reject the proposed remedies because it believes others are preferable and that room must be

made for the government to grant concessions in the negotiation process for settlements);

Microsoft, 56 F.3d at 1461 (noting the need for courts to be “deferential to the government’s



1
 See also BNS, 858 F.2d at 464 (holding that the court’s “ultimate authority under the [APPA] is limited to
approving or disapproving the consent decree”); United States v. Gillette Co., 406 F. Supp. 713, 716 (D. Mass.
1975) (noting that, in this way, the court is constrained to “look at the overall picture not hypercritically, nor with a
microscope, but with an artist’s reducing glass”).


                                                          –4–
         Case 1:18-cv-02340-RJL Document 56 Filed 02/13/19 Page 7 of 38



predictions as to the effect of the proposed remedies”); United States v. Archer-Daniels-Midland

Co., 272 F. Supp. 2d 1, 6 (D.D.C. 2003) (noting that the court should grant “due respect to the

government’s prediction as to the effect of proposed remedies, its perception of the market

structure, and its views of the nature of the case”). The ultimate question is whether “the

remedies [obtained in the decree are] so inconsonant with the allegations charged as to fall

outside of the ‘reaches of the public interest.’” Microsoft, 56 F.3d at 1461 (quoting United States

v. Western Elec. Co., 900 F.2d 283, 309 (D.C. Cir. 1990)). To meet this standard, the United

States “need only provide a factual basis for concluding that the settlements are reasonably

adequate remedies for the alleged harms.” SBC Commc’ns, 489 F. Supp. 2d at 17.

        Moreover, under Microsoft, the court’s role under the APPA is limited to reviewing the

remedy in relationship to the violations that the United States has alleged in its complaint, and

does not authorize the court to “construct [its] own hypothetical case and then evaluate the

decree against that case.” Microsoft, 56 F.3d at 1459; see also U.S. Airways, 38 F. Supp. 3d at 75

(noting that the court must simply determine whether there is a factual foundation for the

government’s decisions such that its conclusions regarding the proposed settlements are

reasonable); InBev, 2009 U.S. Dist. LEXIS 84787, at *20 (“the ‘public interest’ is not to be

measured by comparing the violations alleged in the complaint against those the court believes

could have, or even should have, been alleged”). Because the “court’s authority to review the

decree depends entirely on the government’s exercising its prosecutorial discretion by bringing a

case in the first place,” it follows that “the court is only authorized to review the decree itself,”

and not to “effectively redraft the complaint” to inquire into other matters that the United States

did not pursue. Microsoft, 56 F.3d at 1459–60. To inquire about claims that are not in a complaint

would violate the separation of powers and aggravate the “constitutional difficulties that inhere




                                                 –5–
           Case 1:18-cv-02340-RJL Document 56 Filed 02/13/19 Page 8 of 38



in this statute.” See United States’ December 14, 2018 Response to Order to Show Cause, Dkt.

#32 at 3–7 (discussing the constitutional difficulties with the Tunney Act); see also Microsoft 56

F.3d at 1459; United States v. Fokker Servs., 818 F.3d 733, 738 (D.C. Cir. 2016) (recognizing the

“long-settled understandings about the independence of the Executive with regard to charging

decisions”); Heckler v. Chaney, 470 U.S. 821, 832 (1985) (quoting U.S. Const. art. II, § 3)

(recognizing that the decision about which claims to bring “has long been regarded as the special

province of the Executive Branch.”).

        An amicus brief filed by the AIDS Healthcare Foundation erroneously argues that the

2004 amendments to the Tunney Act overrule Microsoft, allowing courts to consider allegations

that are not in the complaint.2 In fact, however, the amendments addressed a separate issue. In

the Microsoft opinion, after the court held that the Tunney Act does not allow courts to look

beyond the scope of the complaint, the opinion says that a district judge is not obliged to accept a

consent decree that “appears to make a mockery of judicial power.” 56 F.3d at 1462. According

to legislative history of the 2004 amendments, Congress was concerned that subsequent courts

had taken this latter language too far, limiting their review solely to the question of whether

“antitrust consent judgments” would make “a mockery of the judicial function.”3 As a result,

Congress changed the language of § 16(e) from saying that the court “may” consider the public-

interest factors to the court “shall” consider those factors, making them mandatory.4 Congress

also modified the list of factors, for example, adding a new factor (whether the terms of the




2
  Amicus Brief from the AIDS Healthcare Foundation, Dkt. # 50-1.
3
  Antitrust Criminal Penalty Enhancement and Reform Act of 2004, Pub. L. No. 108-237, tit. II, § 221(a), 118 Stat.
661, 668 (2004) (finding that “it would misconstrue the meaning and Congressional intent in enacting the Tunney
Act to limit the discretion of district courts to review antitrust consent judgments solely to determining whether
entry of those consent judgments would make a ‘mockery of the judicial function.’”).
4
  Compare 15 U.S.C. § 16(e) (2004), with 15 U.S.C. § 16(e)(1) (2006).



                                                      –6–
          Case 1:18-cv-02340-RJL Document 56 Filed 02/13/19 Page 9 of 38



judgment are ambiguous5), which the Microsoft court had already made clear was appropriate to

consider, 56 F.3d at 1461–62. Thus, as Senator Hatch observed, “this amendment essentially

codifies existing case law.”6 See also SBC Commc’ns, 489 F. Supp. 2d at 11 (concluding that the

2004 amendments “effected minimal changes” to the Tunney Act review).

        Indeed, rather than overruling Microsoft, the 2004 amendments reaffirm that courts

should focus solely on how the judgment impacts the harms alleged in the complaint by

(1) keeping the language in § 16(e) that directs courts to limit their analysis to the competitive

impact of the “consent judgment,”7 (2) adding language that directs courts to consider

competition “in the relevant market or markets,”8 and (3) making those considerations

mandatory rather than permissive. As Senator Kohl’s floor statement explained, “A mandate to

review the impact of entry of the consent judgment upon ‘competition in the relevant market or

markets’ . . . will ensure that the Tunney Act review is properly focused on the likely competitive

impact of the judgment, rather than extraneous factors irrelevant to the purposes of antitrust

enforcement.”9

        Finally, in the 2004 amendments, Congress addressed the Tunney Act review process,

adding the unambiguous instruction that “[n]othing in this section shall be construed to require

the court to conduct an evidentiary hearing or to require the court to permit anyone to intervene.”

15 U.S.C. § 16(e)(2); see also U.S. Airways, 38 F. Supp. 3d at 76 (indicating that a court is not

required to hold an evidentiary hearing or to permit intervenors as part of its review under the

Tunney Act). This language explicitly wrote into the statute what Congress intended when it first




5
  15 U.S.C. § 16 (e)(1)(A).
6
  150 Cong. Rec. S3610, at S3613 (daily ed. Apr. 2, 2004).
7
  15 U.S.C. § 16(e)(1).
8
  Compare 15 U.S.C. § 16(e) (2004), with 15 U.S.C. § 16(e)(1)(B) (2006).
9
  150 Cong. Rec. S3618 (statement of Sen. Kohl).


                                                     –7–
         Case 1:18-cv-02340-RJL Document 56 Filed 02/13/19 Page 10 of 38



enacted the Tunney Act in 1974. As Senator Tunney explained: “[t]he court is nowhere

compelled to go to trial or to engage in extended proceedings which might have the effect of

vitiating the benefits of prompt and less costly settlement through the consent decree process.”

119 Cong. Rec. 24,598 (1973) (statement of Sen. Tunney). Rather, the procedure for the public-

interest determination is left to the discretion of the court, with the recognition that the court’s

“scope of review remains sharply proscribed by precedent and the nature of Tunney Act

proceedings.” SBC Commc’ns, 489 F. Supp. 2d at 11. A court can make its public-interest

determination based on the competitive impact statement and response to public comments

alone. U.S. Airways, 38 F. Supp. 3d at 76; see also United States v. Enova Corp., 107 F. Supp. 2d

10, 17 (D.D.C. 2000) (noting that the “Tunney Act expressly allows the court to make its public

interest determination on the basis of the competitive impact statement and response to

comments alone”); S. Rep. No. 93-298 93d Cong., 1st Sess., at 6 (1973) (“Where the public

interest can be meaningfully evaluated simply on the basis of briefs and oral arguments, that is

the approach that should be utilized.”).

               IV.    The Investigation, the Harm Alleged in the Complaint,
                                and the Proposed Final Judgment

       The proposed Final Judgment is the culmination of a thorough, comprehensive

investigation conducted by the Antitrust Division of the U.S. Department of Justice into CVS’s

proposed acquisition of Aetna. As noted in the Complaint, CVS is one of the largest companies

in the United States. It operates the nation’s largest retail pharmacy chain. It owns a large

pharmacy benefit manager (“PBM”) called Caremark, which manages the pharmacy benefits for

various health plans and negotiates their drug pricing with pharmaceutical companies and retail

pharmacies. Through its subsidiary called SilverScript, CVS is also the nation’s largest provider

of individual PDPs, which provide Medicare beneficiaries with insurance coverage for their


                                                 –8–
         Case 1:18-cv-02340-RJL Document 56 Filed 02/13/19 Page 11 of 38



prescription drugs. Aetna is the nation’s third largest health insurer and, before the divestiture,

offered individual PDPs throughout the United States.

       Based on the evidence gathered during its investigation, the United States concluded that

CVS’s proposed acquisition of Aetna would likely substantially lessen competition for the sale of

individual PDPs in the 16 geographic regions where CVS and Aetna are particularly strong,

resulting in higher prices, less innovation, fewer choices, and lower-quality individual PDPs for

Medicare beneficiaries in these regions. Accordingly, the United States filed a civil antitrust

lawsuit to block the acquisition as a violation of Section 7 of the Clayton Act, 15 U.S.C. § 18.

       The proposed Final Judgment provides an effective and appropriate remedy for the

transaction’s likely competitive harm by requiring CVS to divest Aetna’s individual PDP

business nationwide. The proposed Final Judgment has several components, which the parties

agreed to abide by during the pendency of the Tunney Act proceeding, and which the Court

ordered in the Asset Preservation Stipulation and Order of October 25, 2018, Dkt. # 15.

       First, CVS must divest both of Aetna’s individual PDP contracts with the Centers for

Medicare and Medicaid Services (“CMS”), which is the federal agency that administers the PDP

program. Aetna’s individual PDP business was the only portion of Aetna’s business where the

merger with CVS would have caused a substantial lessening of competition. Divesting Aetna’s

nationwide individual PDP business—and not just Aetna’s business in the regions identified in

the Complaint—provides WellCare with the same scale and capabilities to implement a national

PDP strategy as Aetna had before the merger. Aetna’s individual PDP contracts were transferred

to WellCare on November 29, 2018. From December 2018 to January 2019, WellCare’s

enrollment in its legacy PDP plans increased by over 400,000 members nationwide, and its




                                                –9–
         Case 1:18-cv-02340-RJL Document 56 Filed 02/13/19 Page 12 of 38



market share grew in all 34 PDP regions. The enrollment in the divested Aetna plans also grew,

adding over 140,000 members.10

        Second, the proposed Final Judgment requires CVS and Aetna to transfer to WellCare

(1) data relating to Aetna’s individual PDP business, (2) information regarding the amount that

Aetna pays to retail pharmacies in exchange for filling prescriptions for Aetna members, and

(3) any contracts with brokers that currently sell Aetna’s individual PDPs. The transfer of this

data, information, and contracts helps ensure that WellCare has sufficient information to

negotiate with retail pharmacies and brokers on the same footing as Aetna did before the merger.

        Third, during the 60-day period following the sale to WellCare, the proposed Final

Judgment has provided WellCare the opportunity to interview and hire Aetna’s current

employees with expertise related to the individual PDP business. The transfer of data and

recruiting of Aetna employees are moving forward according to the terms of the proposed Final

Judgment.

        The proposed Final Judgment also includes provisions aimed at ensuring that the divested

assets are handed off in a seamless and efficient manner, particularly for the two key competitive

events for individual PDPs: the submission of bids to CMS each June (for the following year)

and open-enrollment season for members, which occurs from October through December. In this

case, before the contracts were transferred to WellCare on November 29, 2018, Aetna had

already submitted its bids for the divestiture assets and open-enrollment was well under way.

Thus, to assist WellCare during the 2019 plan year, CVS must, at WellCare’s option, enter into

an administrative services agreement to provide WellCare with all of the services required to


10
  See CMS Monthly Enrollment by CPSC for January 2019, available at https://www.cms.gov/Research-Statistics-
Data-and-Systems/Statistics-Trends-and-Reports/MCRAdvPartDEnrolData/Monthly-Enrollment-by-Contract-Plan-
State-County-Items/Monthly-Enrollment-by-CPSC-2019-
01.html?DLPage=1&DLEntries=10&DLSort=1&DLSortDir=descending.


                                                   – 10 –
        Case 1:18-cv-02340-RJL Document 56 Filed 02/13/19 Page 13 of 38



manage the divestiture assets through the plan year, which ends on December 31, 2019. These

services include contracting with pharmacy networks, administering the plans’ formularies, and

providing back-office support and claims administration functions. Requiring CVS to support

and service these plans provides continuity to members who purchased an Aetna individual PDP

during the open-enrollment period that ran from October through December 2018 and will

ensure that members receive the plans that they have chosen. CVS and WellCare have entered

into an administrative services agreement and, since the divestiture, CVS has been providing

WellCare with the necessary services to manage the divestiture assets in 2019 while WellCare

has begun preparing for the June 2019 submission of its bid for 2020.

       Additionally, CVS and Aetna must allow WellCare to use the Aetna brand for the

divestiture assets through December 31, 2019, and CVS and Aetna are prohibited, through 2020,

from using the Aetna brand for the CVS individual PDP business that they are retaining. This

will provide WellCare with a window to establish a relationship with current Aetna individual

PDP beneficiaries and avoid customer confusion.

       The proposed Final Judgment also includes robust mechanisms that will allow the United

States and the Court to monitor the effectiveness of the relief and to enforce compliance. For

example, the proposed Final Judgment provides for the appointment of a monitoring trustee,

which the Court appointed on December 3, 2018. As a result, the monitoring trustee, Ms. Julie

Myers Wood, is actively working to ensure that the divestiture proceeds appropriately. She has

the power and authority to investigate and report on Defendants’ compliance with the terms of

the Final Judgment and the Asset Preservation Stipulation and Order during the pendency of the

divestiture and is required to file reports with the United States every 90 days. In addition, the

proposed Final Judgment provides the United States with the ability to investigate Defendants’




                                               – 11 –
          Case 1:18-cv-02340-RJL Document 56 Filed 02/13/19 Page 14 of 38



compliance with the Final Judgment and expressly retains and reserves all rights for the United

States to enforce the provisions of the proposed Final Judgment, including its rights to seek an

order of contempt from the Court.

        Together, the requirements in the proposed Final Judgment ensure that WellCare can step

into Aetna’s shoes, thereby preserving the competition that the merger would otherwise destroy.

            V.     Summary of Public Comments and the United States’ Response

        The United States received 173 comments11 from different categories of commenters.

These commenters included advocacy groups, such as the American Medical Association

(“AMA”), the American Antitrust Institute (“AAI”), Consumer Action and U.S. PIRG, and the

Medical Society of the State of New York (“MSSNY”). In addition, the United States received

comments from several groups representing pharmacists that compete with CVS, including the

National Community Pharmacists Association (“NCPA”), the Pharmacists Society of the State of

New York (“PSSNY”), and Pharmacists United for Truth and Transparency (“PUTT”), as well as

approximately 120 individual pharmacies. The United States also received a handful of

comments from business associations and healthcare industry associations.

        The comments can be grouped into four categories: (1) comments about WellCare’s

suitability as a divestiture buyer, including whether it will have sufficient assets, expertise, and

incentives to preserve competition; (2) comments related to the vertical combination of CVS’s

pharmacy and PBM businesses with Aetna’s health insurance businesses; (3) other miscellaneous

comments, including questions about whether the merger will facilitate coordination, have



11
  These comments are provided as attachments TC-001 through TC-085. Aside from redactions of personally
identifiable information such as personal email addresses, phone numbers, and patient information, the comments
are provided in their entirety. Four groups of substantially similar comments are included together as attachments
TC-007, TC-020, TC-057 and TC-061. Amicus filings made before the end of the comment period by (1) Consumer
Action and U.S. PIRG and (2) PUTT and PSSNY are included as attachments TC-023 and TC-060, respectively.


                                                     – 12 –
         Case 1:18-cv-02340-RJL Document 56 Filed 02/13/19 Page 15 of 38



anticompetitive effects in various healthcare markets, increase entry barriers in the PBM or

health insurance markets, or reduce PBM competition by eliminating Aetna as a PBM

competitor; and (4) comments in support of the merger. The Court’s analysis under the Tunney

Act should focus on the first category of comments, as they are the only comments that relate to

whether the proposed remedy addresses the harms alleged in the Complaint. See Microsoft, 56

F.3d at 1459.

A.     Comments Regarding WellCare’s Suitability as a Divestiture Buyer and Ability to
       Compete Effectively

       WellCare has extensive experience and qualifications in the individual PDP market and,

with the assets provided by the proposed Final Judgment, is a suitable divestiture buyer.

Although the AMA, Consumer Action and U.S. PIRG, NCPA, PUTT and PSSNY, and numerous

independent pharmacies, raised concerns regarding WellCare as the buyer of the divested assets,

none of those concerns is valid for the reasons explained below.12 These commenters raised six

primary objections: (1) WellCare will not compete as effectively as Aetna; (2) WellCare will not

operate independently of CVS because WellCare uses CVS’s PBM, Caremark; (3) some health

insurance divestitures have not been successful, indicating that the divestiture to WellCare may

not be successful; (4) the divestiture creates new structural concerns in the markets for the sale of

individual PDPs; (5) the divestiture raises concerns related to WellCare’s license of the Aetna

brand; and (6) the divestiture sales price is too low.

       1.       WellCare is an experienced and effective competitor.

       WellCare has experience and qualifications in government-funded insurance programs.

Despite this, commenters said that WellCare may not compete as effectively as Aetna in


12
  TC-003, TC-015, TC-023, TC-024, TC-047, TC-054, TC-059, TC-060, TC-061, TC-063, TC-064, TC-072, TC-
080, TC-081, and TC-085.



                                                – 13 –
         Case 1:18-cv-02340-RJL Document 56 Filed 02/13/19 Page 16 of 38



individual PDP markets because WellCare is smaller and less capable than Aetna and because

WellCare is not purchasing a stand-alone business unit; these concerns are misplaced.13 Although

Aetna’s overall membership is larger when taking into account its commercial business,

WellCare is already a large and established insurer that has competed in the markets for

individual PDPs for over a decade. WellCare is a Fortune 200 company with over 12,000

employees, 5.5 million members, and a market capitalization of approximately $15 billion. Even

before acquiring over 2.1 million members from Aetna as part of the divested business, WellCare

had attracted nearly 1.1 million individuals in its PDPs throughout the United States. WellCare is

thus starting from a strong base and its acquisition of all of Aetna’s individual PDP business will

enable WellCare to improve its PDP business and become a more significant competitor.

        Some commenters expressed a concern that, despite its size, WellCare will not be as

competitive as Aetna because Aetna’s overall health insurance business was larger than that of

WellCare.14 Before the divestiture, however, WellCare already competed successfully as a

smaller competitor than Aetna. From 2018 to 2019, WellCare organically grew its business by

over 40 percent, from approximately 1 million members to over 1.4 million members.15 More

importantly, with the acquisition of Aetna’s individual PDP business, WellCare’s total individual

PDP membership is well over three million members, approximately 50 percent more than

Aetna’s pre-divestiture individual PDP membership. Following the divestiture, WellCare will be

well-positioned to achieve any benefits of scale that Aetna had enjoyed in its individual PDP

business, enabling it to be an even more formidable competitor than it previously was and



13
   See, e.g., TC-003, TC-024, and TC-060.
14
   See, e.g., TC-003, TC-024.
15
   See CMS Monthly Enrollment by CPSC for January 2019, available at https://www.cms.gov/Research-Statistics-
Data-and-Systems/Statistics-Trends-and-Reports/MCRAdvPartDEnrolData/Monthly-Enrollment-by-Contract-Plan-
State-County-Items/Monthly-Enrollment-by-CPSC-2019-
01.html?DLPage=1&DLEntries=10&DLSort=1&DLSortDir=descending.


                                                   – 14 –
          Case 1:18-cv-02340-RJL Document 56 Filed 02/13/19 Page 17 of 38



ensuring that the remedy is well within the “reaches of the public interest,” as required under the

Tunney Act. See Microsoft, 56 F.3d at 1461.

        Concerns that WellCare is not getting enough assets or a stand-alone business unit from

Aetna misunderstand the context of the remedy here.16 The Antitrust Division’s experience, as

reflected in the 2004 Policy Guide to Merger Remedies,17 is that in some instances, an in-market

buyer does not need a stand-alone business unit to be successful: “The Division will approve the

divestiture of less than an existing business entity if the evidence clearly demonstrates that

certain of the entity’s assets already are in the possession of, or readily obtainable in a

competitive market by, the potential purchaser.”18

        Consistent with this principle, the proposed Final Judgment ensures that WellCare will

have all that it needs to preserve competition in the sale of individual PDPs. WellCare has

purchased Aetna’s entire individual PDP business throughout the United States, including the

relevant contracts, the right to hire employees, and access to all relevant data. Focusing on a

stand-alone “business unit” in this case ignores the critical fact that WellCare already offers

individual PDPs throughout the United States, is licensed in all 50 states, and has scalable in-

house capabilities that it does not need to duplicate. These capabilities include experience

competing in individual PDP markets throughout the country, actuarial expertise, as well as

clinical and administrative resources. Because of these existing capabilities, WellCare does not

need to acquire a stand-alone business unit to compete for the sale of individual PDPs. Instead,



16
   See, e.g., TC-024, TC-060.
17
   This is the operative guide on remedies following the September 25, 2018 withdrawal of the 2011 Policy Guide to
Merger Remedies. See Makan Delrahim, It Takes Two: Modernizing the Merger Review Process, Remarks at the
2018 Global Antitrust Enforcement Symposium (September 25, 2018), available at
https://www.justice.gov/opa/speech/assistant-attorney-general-makan-delrahim-delivers-remarks-2018-global-
antitrust.
18
   Antitrust Division Policy Guide to Merger Remedies, October 2004, at 14, available at
https://www.justice.gov/sites/default/files/atr/legacy/2011/06/16/205108.pdf.


                                                     – 15 –
          Case 1:18-cv-02340-RJL Document 56 Filed 02/13/19 Page 18 of 38



WellCare is acquiring key competitive assets that complement its existing capabilities and allow

WellCare to step quickly and effectively into Aetna’s shoes as a significant competitor for the

sale of individual PDPs.

         Despite WellCare’s in-market expertise, the joint comments by Consumer Action and

U.S. PIRG19 and PUTT and PSSNY20 erroneously argue that WellCare is similarly situated to

Molina, the proposed divestiture buyer of Aetna’s Medicare Advantage business that Judge Bates

rejected in an opinion enjoining Aetna’s proposed acquisition of Humana.21 This concern fails to

appreciate that WellCare is differently situated than Molina in several ways. Unlike Molina,

which had “made forays into the individual Medicare Advantage market” but never succeeded,22

WellCare has consistently maintained a presence in the individual PDP business since the

program’s inception in 2006. Also, Aetna proposed to divest only small portions of each of the

merging parties’ Medicare Advantage business to Molina. In contrast, while WellCare has not

purchased a stand-alone business unit, it has purchased Aetna’s entire individual PDP business,

including Aetna’s business outside the affected geographic markets. Medicare Advantage

products also differ significantly from individual PDP products. In addition to the pharmacy

networks used by PDPs, Medicare Advantage products require a comprehensive network of

hospitals, doctors, and other healthcare providers at competitive rates. In Aetna/Humana, Molina

had no presence at all in 89 percent of the counties referenced in the United States’ complaint

and no Medicare presence in 95 percent of the counties, so the company would have needed to

build its own provider network to compete in the market.23 By contrast, WellCare already has an




19
   TC-023 at 3–4, TC-024 at 5–6.
20
   TC-060 at 21.
21
   United States v. Aetna, Inc., 240 F. Supp. 3d 1, 73 (D.D.C. 2017).
22
   Id. at 62.
23
   Id. at 65.


                                                       – 16 –
         Case 1:18-cv-02340-RJL Document 56 Filed 02/13/19 Page 19 of 38



extensive pharmacy network that it uses to sell individual PDPs throughout the United States and

will not have to assemble any new networks in any region to offer individual PDPs. Thus, unlike

Molina in Aetna/Humana, WellCare is both purchasing an entire business and is a qualified

buyer with the assets and capabilities to continue competing successfully.

        2.       WellCare is an independent competitor to CVS.

        Although some commenters raised concerns that WellCare will not operate independently

of CVS because WellCare uses Caremark (which CVS owns) as its PBM,24 the United States

carefully considered this relationship in evaluating WellCare’s suitability as the divestiture buyer

and ultimately concluded that WellCare will continue to be an independent competitor to CVS

for several reasons.

        First, CVS has no governance control over WellCare. Rather, WellCare is a separate

corporate entity with an independent board of directors. Second, CVS and WellCare do not have

common financial incentives. As a separate company, WellCare is driven to focus on its own

business and compete vigorously against CVS. Third, while WellCare may make the independent

business decision to use Caremark rather than its other PBM options, nothing in the proposed

Final Judgment requires WellCare to do so. In fact, WellCare recently announced that it is putting

its PBM services contract out to bid in the summer of 2019.25 Fourth, WellCare recently acquired

a small PBM called Meridian, which improves WellCare’s ability to provide its own PBM

services. Finally, Caremark’s business has internal firewalls designed to prevent insurance

customers’ information from being shared with SilverScript and other insurance customers. This

means that WellCare, like all of Caremark’s health plan customers, can make its own


24
  See, e.g., TC-003, TC-015, TC-060, TC-061, and TC-080.
25
  See “WellCare Fourth Quarter 2018 Earnings Conference Call Transcript” (February 5, 2019) available at
https://www.fool.com/earnings/call-transcripts/2019/02/05/wellcare-health-plans-inc-wcg-q4-2018-earnings-
con.aspx (last visited February 13, 2019).


                                                    – 17 –
            Case 1:18-cv-02340-RJL Document 56 Filed 02/13/19 Page 20 of 38



independent business decisions with the protections these firewalls provide against the risk that

SilverScript, or any other Caremark customer, will have access to competitively sensitive

information or advance knowledge of its business plans and other competitive decisions.

          Because WellCare retains control of the divestiture assets and has the financial incentive

to use them in its best interests, rather than CVS’s, WellCare’s relationship with Caremark does

not change the conclusion that the proposed remedy is in the public interest. This conclusion is

bolstered by the success of Aetna’s individual PDP plans, which used Caremark for PBM

services before the merger, showing that a relationship with Caremark does not impede an

individual PDP’s competitiveness. Similarly, WellCare has also competed against CVS’s

SilverScript business for many years despite using Caremark for PBM services.

          Other comments incorrectly suggest that, because the proposed Final Judgment includes

transition services agreements for 2019, WellCare will not operate the divestiture assets

independently of CVS.26 As described above, the proposed Final Judgment requires that, at

WellCare’s option, CVS must enter into an administrative services agreement to provide

WellCare with all of the services required to manage the divestiture assets through the 2019 plan

year. CVS must offer these services at the direction of WellCare and subject to the review of both

the monitoring trustee and the United States, whose oversight will likely deter any attempts to

undermine WellCare’s competitiveness.

          The transition services agreements are also only in place through 2019. This temporary

arrangement provides continuity to members who purchased an Aetna individual PDP during the

open-enrollment period that ran from October through December 2018, but ends when plans for

2020 will become effective. These transition services are necessary for the seamless and efficient



26
     TC-003, TC-023, and TC-024.


                                                – 18 –
          Case 1:18-cv-02340-RJL Document 56 Filed 02/13/19 Page 21 of 38



transition of Aetna’s individual PDP business to WellCare. Importantly, the agreements do not

affect the prices, design, coverage amounts, and other terms of the plans WellCare is now

offering to seniors. Rather, these terms have been fixed for all of 2019.

        Further, the monitoring trustee is closely tracking CVS’s compliance with the terms of

the transition services agreements. CVS’s obligations are clearly stated in the proposed Final

Judgment, and the monitoring trustee is already ensuring that CVS is fulfilling its

responsibilities. Because Aetna’s contracts with CMS, as well as the related data, have been

transferred in accordance with the terms of the proposed Final Judgment, WellCare has all the

assets it needs to independently prepare for the next competitive event—the June 2019

submission of the bid for 2020—which is not impacted by the transition services agreements.

        3.       Prior health insurance merger remedies do not cast doubt on the divestiture.

        In 2012, the United States required Humana Inc. and Arcadian Management Services Inc.

to divest assets relating to Arcadian’s Medicare Advantage business in 51 counties in five states

in order for Humana to proceed with an acquisition of Arcadian.27 Several commenters looked at

this and other divestitures in hindsight and conclude that they failed or that divestitures in

general are not successful remedies.28 As a general matter, however, the factual circumstances in

every divestiture are different. Furthermore, the concerns that the experience of prior divestitures

indicates that the divestiture to WellCare will fail in this instance are wrong because the

circumstances here are different.

        Indeed, there are several key differences between this divestiture and the ones in

Humana/Arcadian, the most important of which is the scope of the divestiture. In


27
   See “Justice Department Requires Divestitures in Humana Inc.'s Acquisition of Arcadian Management Services
Inc.,” available at https://www.justice.gov/opa/pr/justice-department-requires-divestitures-humana-incs-acquisition-
arcadian-management-services.
28
   TC-003, TC-023, TC-024, and TC-060.


                                                      – 19 –
         Case 1:18-cv-02340-RJL Document 56 Filed 02/13/19 Page 22 of 38



Humana/Arcadian the divestiture did not constitute an entire business, as it included only 12,700

covered lives in 51 rural counties and was split between three different acquirers. In contrast,

CVS has divested Aetna’s entire individual PDP business, consisting of over two million

members and including assets outside the markets described in the Complaint. Additionally,

similar to Molina in Aetna/Humana, the Humana/Arcadian divestitures concerned Medicare

Advantage products and some of those divestitures went to buyers that did not have Medicare

Advantage provider networks in the divested markets. In contrast, WellCare already has

pharmacy networks in every region of the United States. Divesting the entire line of business to

WellCare, a well-positioned buyer, will help ensure that WellCare continues to compete

effectively and capture additional economies of scale across its entire business.

        Despite these factual differences, commenters also note that WellCare was the buyer of

one set of divested assets in Humana/Arcadian and wrongly suggest that, because that divestiture

failed, this one likely will too.29 As described above, the two divestitures are substantially

different. In Humana/Arcadian, WellCare acquired fewer than 5,000 lives in two counties in

Arizona. In contrast, WellCare is acquiring over 2.1 million individual PDP lives across the

United States from Aetna. Additionally, as described above, WellCare did not have a Medicare

Advantage provider network in Arizona before the divestiture in Humana/Arcadian while

WellCare already has an established pharmacy network in place that it can use for the PDP

business it is acquiring from Aetna. Further, WellCare has grown significantly as a company

since 2012—more than doubling from 2.7 million30 members to 5.5 million31—and overhauled


29
   TC-023, TC-024, and TC-060; see also Amicus Brief from the AIDS Healthcare Foundation, Dkt. # 50-1.
30
   See “WellCare 2011 Annual Report”, available at
http://ir.wellcare.com/file/4091918/Index?KeyFile=1500074253.
31
   See “WellCare Corporate Overview”, available at https://www.wellcare.com/en/Corporate/Company-Overview
(last visited February 13, 2019).



                                                  – 20 –
          Case 1:18-cv-02340-RJL Document 56 Filed 02/13/19 Page 23 of 38



its leadership team, including the CEO, CFO, CIO, CMO, and the EVP for Clinical Operations.32

Because of the larger scale of the current divestiture, WellCare’s growth as a health insurance

company, and its experience and existing capabilities with individual PDPs, WellCare’s

performance with the Humana/Arcadian assets does not indicate how successful it will be with

Aetna’s PDP business. Because a district court “must accord deference to the government’s

predictions about the efficacy of its remedies,” SBC Commc’ns, 489 F. Supp. 2d at 17, and

because the divestiture to WellCare is readily distinguishable from the ones that commenters

allege failed in Humana/Arcadian, the Court should afford deference to the government’s

prediction of a successful divestiture in this instance.

         4.       The remedy does not create new structural concerns in the markets for
                  individual PDPs.

         The AMA incorrectly argues that, because WellCare and Aetna both compete in all 34

Medicare regions, the divestiture itself creates competitive concerns simply by reducing the

number of competitors in every region.33 The AMA further alleges that, in seven regions, the

divestiture “would potentially raise significant competitive concerns [that] often warrant

scrutiny” because it exceeds certain Herfindahl–Hirschman Index (“HHI”) thresholds in the

Horizontal Merger Guidelines.34

         HHIs are a commonly accepted measure of market concentration and are calculated by

squaring the market share of each firm competing in the market and then summing the resulting

numbers.35 The U.S. Department of Justice, consistent with the Federal Trade Commission,



32
   See “WellCare Corporate Management Team”, available at https://www.wellcare.com/Corporate/Management-
Team (last visited February 13, 2019).
33
   TC-030 at 6-7.
34
    Id.
35
   For example, for a market consisting of four firms with shares of 30, 30, 20, and 20 percent, the HHI is 2,600 (302
+ 302 + 202 + 202 = 2,600).



                                                       – 21 –
          Case 1:18-cv-02340-RJL Document 56 Filed 02/13/19 Page 24 of 38



generally considers markets in which the HHI is between 1,500 and 2,500 points to be

moderately concentrated, and considers markets in which the HHI is in excess of 2,500 points to

be highly concentrated.36 Transactions that increase the HHI by more than 100 points in

moderately concentrated markets or between 100 and 200 points in highly concentrated markets

“potentially raise significant competitive concerns and often warrant scrutiny.”37 Transactions

that increase the HHI by more than 200 points in highly concentrated markets are “presumed to

be likely to enhance market power.”38

        In this case, although some regions fall into the category of “potentially” raising concerns

under the Horizontal Merger Guidelines after the divestiture, no regions are above the threshold

for “presumed” concerns. Moreover, as described in the 2010 Horizontal Merger Guidelines,

while the United States does use HHIs and other concentration statistics, such as the number of

firms in the market, as an important part of its investigative toolkit, “[t]he purpose of these

thresholds is not to provide a rigid screen to separate competitively benign mergers from

anticompetitive ones … [r]ather, they provide one way to identify some mergers unlikely to raise

competitive concerns and some others for which it is particularly important to examine whether

other competitive factors confirm, reinforce, or counteract the potentially harmful effects of

increased concentration.”39 Consistent with these principles, the United States considered the

strength of WellCare, Aetna, and their competitors in all 34 PDP regions. The combined market

share of Aetna’s and WellCare’s individual PDP businesses does not exceed 25 percent in any

region. The United States determined that the combination of Aetna’s and WellCare’s PDP




36
   See U.S. Department of Justice & FTC, Horizontal Merger Guidelines § 5.3 (2010), available at
https://www.justice.gov/atr/file/810276/download.
37
   Id.
38
   Id.
39
   Id.


                                                     – 22 –
         Case 1:18-cv-02340-RJL Document 56 Filed 02/13/19 Page 25 of 38



business was not likely to substantially lessen competition, in part due to the presence of other

significant competitors—including CVS’s SilverScript product—in every market.

        5.      The licensing provisions related to the Aetna brand protect WellCare’s
                ability to compete using the divested assets.

        Under Section IV.I. of the proposed Final Judgment, Aetna is required to license the

Aetna brand to WellCare for use with the divested business only for 2019. For 2020, Section

IV.J. of the proposed Final Judgment prohibits CVS from using the Aetna brand for the sale of

individual PDPs. Misunderstanding these provisions, the joint comment from Consumer Action

and U.S. PIRG raises concerns that WellCare’s one-year license to the Aetna brand fails to create

an incentive to properly invest in the Aetna brand name.40 The proposed Final Judgment,

however, is not meant to give WellCare a long-term incentive to invest in the Aetna brand name.

Rather, these provisions give WellCare a two-year opportunity to establish its relationship with

the customers of the divested plans without a competing Aetna-branded individual PDP plan.

Given that, as previously explained, the divestiture improves WellCare’s established ability to

compete for PDP customers, these provisions further enhance the effectiveness of the proposed

Final Judgment.

        6.      The sales price does not cast doubt on WellCare’s intention to compete.

        Several commenters raise misplaced concerns related to the price paid by WellCare.41 For

example, the joint comment from Consumer Action and U.S. PIRG estimates the divestiture

purchase price to be $45 per life and then claims—without evidence—that this “seems like a

very cheap price.”42 In some cases, a low purchase price may raise concerns whether a proposed



40
   TC-023, TC-024; see also TC-003.
41
   TC-003, TC-023, TC-024, and TC-060.
42
   TC-023 at 5, TC-024 at 7.



                                              – 23 –
          Case 1:18-cv-02340-RJL Document 56 Filed 02/13/19 Page 26 of 38



divestiture buyer will be a successful competitor.43 As described in the 2004 Policy Guide to

Merger Remedies, “the purchase price will not be approved if it clearly indicates that the

purchaser is unable or unwilling to compete in the relevant market.”44 The Policy Guide also

states, however, that “a successful divestiture does not depend on the price paid for the assets.”45

Rather, a low price “may simply mean the purchaser is getting a bargain” and “if the Division

has other sufficient assurances that the proposed purchaser intends to compete in the relevant

market, the Division will not require … [a certain] price.”46

         In this case, the Antitrust Division has those assurances. The United States thoroughly

vetted WellCare, which has offered individual PDPs since the program’s inception in 2006 and

has recently experienced strong organic growth.47 The United States interviewed WellCare’s

executives, reviewed its business plans, and discussed WellCare with relevant third parties.

Based on these efforts, the United States believes that WellCare will continue to compete in

individual PDPs, a market it has participated in for over a decade. The commenters do not

provide any evidence that their estimated purchase price undermines this conclusion.

B.       Comments Related to the Vertical Aspects of CVS’s Acquisition of Aetna

         Asking the Court to go outside the permissible scope of review under the Tunney Act,

commenters also raise vertical concerns about the merger combining CVS’s pharmacy and PBM

businesses with Aetna’s health insurance businesses, alleging that the merger will enable CVS to




43
   See, e.g., United States v. Aetna, Inc., 240 F. Supp. 3d 1, 72 (D.D.C. 2017) (citing to an “extremely low” purchase
price as evidence that the divestiture buyer was not likely to be able to replace the competition lost by the merger).
44
   Antitrust Division Policy Guide to Merger Remedies, October 2004, at 33 available at
https://www.justice.gov/sites/default/files/atr/legacy/2011/06/16/205108.pdf.
45
   Id.
46
   Id. at 34.
47
   See CMS Monthly Enrollment by CPSC for January 2019, available at https://www.cms.gov/Research-Statistics-
Data-and-Systems/Statistics-Trends-and-Reports/MCRAdvPartDEnrolData/Monthly-Enrollment-by-Contract-Plan-
State-County-Items/Monthly-Enrollment-by-CPSC-2019-
01.html?DLPage=1&DLEntries=10&DLSort=1&DLSortDir=descending.


                                                       – 24 –
        Case 1:18-cv-02340-RJL Document 56 Filed 02/13/19 Page 27 of 38



use its assets to harm competitors. CVS can be viewed as competing at three different levels of

the healthcare industry: (1) the sale of drugs through channels such as retail, mail order, and

long-term care pharmacies; (2) the provision of PBM services that are offered to insurers,

including the negotiation of rates with pharmaceutical manufacturers and the negotiation of

coverage networks with pharmacies; and (3) the sale of various types of insurance, including

individual PDPs. CVS competes at all three of these levels through its branded retail, long-term

care, and other pharmacies; through its PBM, Caremark; and through SilverScript, its individual

PDP. Aetna competes with SilverScript at the third level, and offers additional types of insurance,

but does not offer stand-alone PBM services or own any retail pharmacies of its own.

       Recognizing that CVS and Aetna do not compete against each other either at the retail

pharmacy level or the PBM level, commenters nonetheless raise two categories of vertical

concerns relating to the merger: input foreclosure and customer foreclosure concerns, which are

explained below. Commenters also raise vertical concerns about CVS’s common ownership of

its retail pharmacies and Caremark, its PBM, which CVS owned long before it sought to acquire

Aetna and is unrelated to the current merger.

       The United States investigated the potential for vertical harms from the merger by

obtaining and reviewing documents as well as interviewing industry participants. For the reasons

outlined below, the United States concluded that vertical harms were unlikely to occur and did

not allege any harm related to vertical concerns in its Complaint. The vertical concerns therefore

are outside the scope of this Tunney Act proceeding. See United States’ December 14, 2018

Response to Order to Show Cause, Dkt. #32, at 3–7. Responding to the AAI’s comment that

there are benefits to transparency, the United States nonetheless describes the commenters’

concerns and responds below.




                                                – 25 –
          Case 1:18-cv-02340-RJL Document 56 Filed 02/13/19 Page 28 of 38



         1.       Input foreclosure is unlikely to occur and is beyond the scope of the
                  Complaint.

         Although several comments raise the possibility that the merged firm will harm

competition in the sale of health insurance by raising the cost of important services or products

that CVS provides to insurers that compete with Aetna, which is known as input foreclosure, the

United States considered this possibility and determined that input foreclosure is unlikely to be

profitable for CVS. In particular, commenters argue that CVS will deny or restrict health

insurance rivals’ access to inputs at two different levels of the supply chain: First, commenters48

allege that the company will not make its pharmacies available to competing health plans or will

otherwise disadvantage rival plans by raising pharmacy costs. Second, commenters49 allege that

Caremark will not make its PBM services available to competing health plans or will raise the

prices for its PBM services to rival plans.50 Neither is likely to occur.

         As noted in a set of questions and answers issued on the same day the Complaint and

proposed Final Judgment were filed, the United States carefully considered these issues as part

of its investigation.51 The evidence showed that CVS is unlikely to be able to profitably raise its

PBM or retail pharmacy costs post-merger. If CVS were to raise prices at any level of the supply

chain, it would lose customers to competing PBMs or retail pharmacies, and the merged entity



48
   TC-001, TC-002, TC-003, TC-023, and TC-024; see also Amicus Brief from the AIDS Healthcare Foundation,
Dkt. # 50-1.
49
   TC-001, TC-002, TC-003, TC-023, TC-024, TC-048, TC-054, and TC-057.
50
   Additionally, some commenters also allege that CVS is foreclosing 340B administrators from its retail
pharmacies. See TC-066, TC-068. 340B administrators offer services to assemble and administer pharmacy
networks that provide rebates to qualified hospitals. CVS competes with these administrators through a subsidiary
called Wellpartner. These commenters allege that CVS does not allow its pharmacies to participate in 340B
networks unless Wellpartner is selected as the hospital’s 340B administrator, which would be a form of input
foreclosure. CVS’s acquisition of Aetna does not relate to the 340B market or affect shares in that market. In part for
this reason, the United States did not allege anticompetitive effects from the merger related to CVS or Wellpartner’s
practices, placing the concerns of these commenters outside of the Court’s Tunney Act review. See Dkt. #32, at 3–7.
51
   See “United States v. CVS and Aetna Questions and Answers for the General Public,” available at
https://www.justice.gov/opa/press-release/file/1099806/download.



                                                       – 26 –
         Case 1:18-cv-02340-RJL Document 56 Filed 02/13/19 Page 29 of 38



likely would not be able to offset these losses by capturing additional health insurance customers.

For these reasons, the United States did not allege input foreclosure in its Complaint, making this

issue beyond the scope of this Tunney Act proceeding.

        Despite the evidence, the AMA also argues that the divestiture will fail because WellCare

will be foreclosed from pharmacy and PBM services.52 In effect, this argument asserts that the

input foreclosure described above will occur and will be directed at WellCare. As discussed

above, the United States concluded that such foreclosure—whether directed at WellCare or any

other insurer—is unlikely to occur. Furthermore, even before the divestiture, WellCare (and

Aetna) competed successfully against CVS’s SilverScript PDP business despite the vertical

relationship between SilverScript and Caremark. With the divestiture, CVS’s share of the

individual PDP market will not grow, so the merger will not increase CVS’s incentive or ability

to foreclose its PDP rivals—including WellCare—from CVS pharmacies or Caremark.

        2.      Customer foreclosure is unlikely to occur and is beyond the scope of the
                Complaint.

        Other comments allege that the merged firm would harm pharmacies by denying them

access to Aetna members, even though the merger does not significantly increase CVS’s

incentive to engage in this behavior, which is known as “customer foreclosure.”53 Commenters—

primarily independent pharmacies that compete with CVS—allege that Caremark favors CVS

pharmacies in its reimbursements.54 The commenters allege that this favoritism can be observed

in Caremark programs such as mandatory mail order, which steers customers away from



52
   TC-003 at 12.
53
   TC-002, TC-023, TC-024, TC-035, TC-048, TC-059, TC-060, TC-070, TC-076, TC-078; see also Amicus Brief
from the AIDS Healthcare Foundation, Dkt. # 50-1.
54
   TC-001, TC-002, TC-004 TC-012, TC-013, TC-016, TC-017, TC-021, TC-023, TC-024, TC-027, TC-031, TC-
032, TC-033, TC-034, TC-039, TC-043, TC-044, TC-045, TC-050, TC-059, TC-060, TC-065, TC-075, TC-076,
TC-080, TC-083, TC-085.



                                                 – 27 –
         Case 1:18-cv-02340-RJL Document 56 Filed 02/13/19 Page 30 of 38



independent pharmacies.55 Commenters also allege that Caremark manipulates reimbursement to

independent pharmacies, sometimes later offering to buy them and turn them into CVS stores,56

and that several states are investigating these practices.57 From these allegations, these

commenters incorrectly conclude that CVS is likely to use Aetna to steer additional customers

away from rival pharmacies, causing them harm.

        The United States takes these allegations seriously and considered them during its

investigation. Generally, the United States considers the merging companies’ prior acts when

evaluating the likely effects of a transaction, but mergers are illegal under the Clayton Act only if

they will likely substantially lessen competition in a relevant market.58 Based on its

investigation, the United States determined that CVS’s acquisition of Aetna likely would not

result in an anticompetitive customer foreclosure strategy, particularly given Aetna’s small share

in many commercial health insurance markets. The combination of Aetna’s small share of retail

pharmacy purchases in many areas, competition from rival insurers who would win additional

sales if Aetna provided a less desirable pharmacy network, and other factors make it unlikely that

this strategy would be profitable for CVS. Therefore, the United States did not allege customer

foreclosure in its Complaint, placing this issue beyond the scope of this Tunney Act proceeding.

See Dkt. #32, at 3–7. Consequently, these comments do not provide a basis for rejecting the

proposed Final Judgment. See U.S. Airways, 38 F. Supp. 3d at 76 (“‘Moreover, the Court’s role

under the APPA is limited to reviewing the remedy in relationship to the violations that the




55
   TC-001, TC-002, TC-016, TC-020, TC-021, TC-027, TC-035, TC-039, TC-045, TC-046, TC-054, TC-059, TC-
061, TC-062, TC-074, TC-080, TC-081.
56
   TC-004, TC-013, TC-017, TC-023, TC-024, TC-025, TC-031, TC-032, TC-033, TC-038, TC-039, TC-046, TC-
061, TC-064, TC-074; see also Amicus Brief from the AIDS Healthcare Foundation, Dkt. # 50-1.
57
   TC-016, TC-031, TC-044, TC-054, TC-059, TC-060, TC-061, TC-063, TC-064, TC-072, TC-078, TC-080, TC-
081, TC-082, TC-083; see also Amicus Brief from the AIDS Healthcare Foundation, Dkt. # 50-1.
58
   See 15 U.S.C. § 18.


                                                – 28 –
         Case 1:18-cv-02340-RJL Document 56 Filed 02/13/19 Page 31 of 38



United States has alleged in its Complaint. . . .’”) (quoting United States v. Graftech Int’l Ltd.,

No. 1:10-CV-02039-RMC, 2011 WL 1566781, at *13 (D.D.C. Mar. 24, 2011)).

        3.      Vertical concerns are not addressable under the Tunney Act’s standard of
                review.

        Although their comments are outside the scope of the Court’s Tunney Act review because

the Complaint does not allege vertical harms, some commenters weighed in on the standard of

review under the Tunney Act59 or commented that the Court may still consider vertical concerns

if the Complaint is drafted so narrowly as to make a “mockery of judicial power,” an argument

that is unsupported by the caselaw, as discussed above.60 Indeed, as the D.C. Circuit recognized

in Microsoft, 56 F.3d at 1459, a district court may not evaluate the scope of the complaint during

a Tunney Act review, even if the court believes that additional claims would have been justified.

While a court is not obliged to accept a consent decree that “makes a mockery of judicial power,”

id. at 1462, under Microsoft that standard applies to the consent decree—not the complaint—and

subsequent cases suggesting otherwise are inconsistent with Microsoft.

        In any event, neither the Complaint nor the proposed Final Judgment is drafted so

narrowly as to make a mockery of judicial power. To the contrary, the Complaint is significant in

scope: it challenges anticompetitive harm in 16 broad regions, encompassing 22 states, affecting

millions of seniors. The proposed Final Judgment goes even further, addressing the

anticompetitive harm with the nationwide divestiture of Aetna’s entire individual PDP business.

        Furthermore, the fact that the divestiture represents a small fraction of the underlying $69

billion merger is not relevant to the public-interest determination and is not a basis for


59
   TC-001, TC-002, TC-003, TC-023, TC-024, TC-060; see also Amicus Brief from the AIDS Healthcare
Foundation, Dkt. # 50-1.
60
   TC-001, TC-002, TC-023, TC-024, TC-059, and TC-060; see also Amicus Brief from the AIDS Healthcare
Foundation, Dkt. # 50-1.



                                                  – 29 –
          Case 1:18-cv-02340-RJL Document 56 Filed 02/13/19 Page 32 of 38



concluding that the proposed remedy makes a mockery of the judicial process, as some

commenters suggest.61 Courts have routinely found proposed judgments to be in the public

interest when the United States challenged only a small part of a large transaction,62 and

settlements are often ideal in these situations because they allow parties to proceed with

transactions that could otherwise benefit consumers. Because Aetna was the nation’s third-largest

health insurance company, it is not surprising that its individual PDP business, while substantial,

represents only a small percentage of the company’s total value. The United States made these

arguments in more detail in its December 14, 2018 Response to Order to Show Cause, see Dkt.

#32, and incorporates that pleading herein by reference.

C.      Other Miscellaneous Comments

        Even though CVS and Aetna significantly compete against each other only in the sale of

individual PDPs, several commenters raised irrelevant concerns related to other markets,

including whether the merger will increase entry barriers in either the PBM or health insurance

markets,63 or reduce PBM competition by eliminating Aetna as a potential entrant in the PBM

market.64 During its investigation, the United States seriously considered whether the merger

likely would harm competition in the PBM and health insurance markets, including by increasing

entry barriers and eliminating Aetna as a PBM competitor. Among other things, the United States

obtained and reviewed documents and interviewed industry participants about these issues. In



61
   TC-001; see also Amicus Brief from the AIDS Healthcare Foundation, Dkt. # 50-1.
62
   See United States v. Parker-Hannifin Corp. and CLARCOR Inc., 1:17-cv-01354 (D. Del. Sept. 26, 2017)
(complaint alleging harm in only two product markets, which resulted in a divestiture of a business with annual
revenues of approximately $60 million, in challenge to $4.3 billion transaction); United States v. United
Technologies Corp. and Goodrich Corp., 1:12-cv-01230 (D.D.C. July 26, 2012) (complaint alleging harm in only
two product markets, resulting in a divestiture of businesses expected to generate approximately $395 million in
annual revenues, in challenge to $18.4 billion transaction); United States v. InBev N.V./S.A. et al., 1:08-cv-01965
(D.D.C. Nov. 14, 2008) (complaint alleging harm in only three regions of upstate New York in challenge to InBev’s
proposed acquisition of Anheuser-Busch for approximately $52 billion).
63
   TC-002, TC-003.
64
   TC-001, TC-003; see also Amicus Brief from the AIDS Healthcare Foundation, Dkt. # 50-1.


                                                      – 30 –
         Case 1:18-cv-02340-RJL Document 56 Filed 02/13/19 Page 33 of 38



reviewing such information, the United States determined that the evidence did not show that the

merger likely would harm competition in these areas. Accordingly, the Complaint did not allege

that CVS’s acquisition of Aetna would harm competition in PBM and health insurance markets

other than the sale of individual PDP plans. These comments are thus beyond the purview of the

Tunney Act and do not provide a basis for rejecting the proposed Final Judgment. See U.S.

Airways, 38 F. Supp. 3d at 76 (“[T]he Court’s role under the APPA is limited to reviewing the

remedy in relationship to the violations that the United States has alleged in its Complaint.”)

(internal citation omitted).

        Although some commenters expressed concern about concentration in the PBM market,

these concerns are misplaced because Aetna does not provide stand-alone PBM services. These

commenters state that only three companies—Caremark, ESI, and Optum—control over 80% of

the PBM marketplace65 and are simply too powerful,66 with the ability to harm pharmacies,

including by forcing “take it or leave it” contracts on independent pharmacies. The commenters

also complain about PBM business practices, such as “spread pricing” on pharmaceuticals, which

the commenters allege limits transparency and harms independent pharmacies.67 Additionally,

the AMA and other commenters raised concerns that the vertically integrated PBM/health

insurers (Cigna–Express Scripts, Optum Rx–United Healthcare, and CVS–Aetna) would have

increased incentives following the merger to coordinate by bidding less aggressively for PBM

contracts that would strengthen their health insurer rivals or that the large vertically integrated


65
   TC-002, TC-004, TC-009, TC-015, TC-020, TC-023, TC-024, TC-026, TC-029, TC-038, TC-044, TC-046, TC-
054, TC-056,TC-059, TC-060, TC-061, TC-080, TC-083; see also Amicus Brief from the AIDS Healthcare
Foundation, Dkt. # 50-1.
66
   TC-014, TC-023, TC-024, TC-026, TC-027, TC-037, TC-044, TC-046, TC-054, TC-056, TC-057, TC-059, TC-
062.
67
   TC-009, TC-014, TC-015, TC-016, TC-017, TC-020, TC-021, TC-023, TC-024, TC-025, TC-031, TC-033, TC-
044, TC-045, TC-047, TC-056, TC-059, TC-060, TC-061, TC-062, TC-063, TC-064, TC-072, TC-074, TC-078,
TC-080, TC-081, TC-082, TC-085; see also Amicus Brief from the AIDS Healthcare Foundation, Dkt. # 50-1.



                                                 – 31 –
         Case 1:18-cv-02340-RJL Document 56 Filed 02/13/19 Page 34 of 38



PBM/health insurers would have stronger incentives to prevent market entry by other PBMs or

the introduction of innovative drug business models.68 The merger, however, does not

significantly increase concentration in the PBM market because Aetna does not offer stand-alone

PBM services. Also, these comments do not relate to whether the proposed Final Judgment

reasonably addresses the harms alleged in the Complaint. Therefore, they are well beyond the

scope of this Tunney Act proceeding and do not provide a basis for rejecting the proposed Final

Judgment. See U.S. Airways, 38 F. Supp. 3d at 76 (“[T]he Court’s role under the APPA is limited

to reviewing the remedy in relationship to the violations that the United States has alleged in its

Complaint.”) (internal citation omitted).

        Some commenters raised concerns about the effectiveness of firewalls at Caremark,

despite CVS’s commercial incentive to maintain those firewalls. The AAI expressed concerns

that ineffective firewalls would allow Caremark to facilitate coordination among health insurers

that use it as a PBM.69 The United States investigated this possibility and determined that CVS is

commercially incentivized to maintain firewalls because that customers could switch to an

alternative PBM if their information were not kept confidential. MSSNY raised a related concern

regarding the potential for consumer data breaches due to data being shared between the merged

entities, but CVS already handles sensitive consumer data from Caremark’s PBM business.

Nothing about the merger changes CVS’s incentive or ability to protect this information.

        Other commenters applied the wrong legal standard when they argued that the Court

should reject the settlement because consumers may not benefit from the merger of CVS and

Aetna. The AAI and the joint comment from Consumer Action and U.S. PIRG70 argue that there


68
   TC-002, TC-003.
69
   See also TC-045.
70
   TC-002, TC-023, and TC-024.



                                               – 32 –
         Case 1:18-cv-02340-RJL Document 56 Filed 02/13/19 Page 35 of 38



is little evidence that past vertical mergers have benefitted consumers, and several commenters71

suggested that there is no evidence that cost savings will be passed through to customers.

Mergers, however, are illegal under the Clayton Act only if they substantially lessen competition

in a relevant product market, not if they fail to pass on benefits to consumers in markets where

competition likely will not be substantially lessened.72 Consequently, these comments do not

provide a basis for rejecting the proposed Final Judgment.

        Some commenters raised other concerns that are beyond the scope of the Complaint in

this case. For example, several commenters, including the MSSNY, said that the merger would

harm physicians and other healthcare providers in a number of ways, including through steering

patients away from physician groups or by imposing administrative burdens on physicians.73

They also argue that these actions would harm patients. Without relating their concerns to the

merger, other commenters allege that the pharmacy74 or insurance75 markets are concentrated,

raise concerns relating to CVS’s existing pricing practices,76 note that CVS is involved in an

ongoing federal whistleblower case,77 or complain about CVS’s long-term care pharmacy.78 As

these comments do not relate to whether the proposed Final Judgment reasonably addresses the

harms alleged in the Complaint, they are well beyond the scope of this Tunney Act proceeding

and do not provide a basis for rejecting the proposed Final Judgment. See U.S. Airways, 38 F.



71
   TC-003, TC-023, TC-024, TC-054, TC-059.
72
   See 15 U.S.C. § 18.
73
   TC-001, TC-004, TC-007, TC-011, TC-029, TC-048, TC-060, TC-067, TC-070, TC-078, TC-081; see also
Amicus Brief from the AIDS Healthcare Foundation, Dkt. # 50-1. MSSNY further argued that these practices would
be driven by the $40 billion in debt that CVS is incurring as part of the transaction.
74
   TC-002.
75
   TC-002, TC-023, and TC-024.
76
   TC-009, TC-014, TC-015, TC-016, TC-017, TC-020, TC-021, TC-023, TC-024, TC-025, TC-031, TC-033, TC-
044, TC-045, TC-047, TC-056, TC-059, TC-060, TC-061, TC-062, TC-063, TC-064, TC-072, TC-074, TC-078,
TC-080, TC-081, TC-082, TC-085; see also Amicus Brief from the AIDS Healthcare Foundation, Dkt. # 50-1.
77
   TC-007.
78
   TC-065.



                                                   – 33 –
         Case 1:18-cv-02340-RJL Document 56 Filed 02/13/19 Page 36 of 38



Supp. 3d at 76 (“[T]he Court’s role under the APPA is limited to reviewing the remedy in

relationship to the violations that the United States has alleged in its Complaint.”) (internal

citation omitted).

D.      Comments in Support of the Merger

        Twenty-six commenters expressed support for the merger or praised CVS’s business

practices.79 Commenters, including the California Asian Pacific Chamber of Commerce,

Connecticut Business and Industry Association, Atlanta Children’s Shelter, SISU Integrated

Early Leaning, and API Council, discussed the merger’s potential to create an innovative

platform that will improve access to high quality and affordable healthcare. In particular, the

Asian Business Association and the API Council discussed the potential of the merger to allow

for more collaboration between doctors, pharmacists, and insurers, resulting in improved patient

care. Commenters, including the Spanish Speaking Elderly Council-RAICES, Inc., the Latino

Commission on AIDS, National Hispanic Medical Association, and the National Black Nurses

Association, praised CVS for improving public health through removing tobacco from its stores,

participating in programs to combat the opioid epidemic, and offering free biometric health

screenings. Other commenters such as the Connecticut Business and Industry Association and

ValueCare Alliance praised Aetna for providing jobs and collaborating with providers on

innovative healthcare products. These comments are consistent with the United States’ previous

recognition that this merger has the potential to generate benefits by improving the quality and

lowering the costs of healthcare services.80



79
   TC-005, TC-006, TC-008, TC-010, TC-018, TC-019, TC-022, TC-028, TC-030, TC-036, TC-040, TC-041, TC-
042, TC-049, TC-051, TC-052, TC-053, TC-055, TC-058, TC-069, TC-071, TC-073, TC-074, TC-077, TC-079,
TC-084.
80
   See “Justice Department Requires CVS and Aetna to Divest Aetna’s Medicare Individual Part D Prescription
Drug Plan Business to Proceed with Merger,” available at https://www.justice.gov/opa/pr/justice-department-
requires-cvs-and-aetna-divest-aetna-s-medicare-individual-part-d.


                                                   – 34 –
        Case 1:18-cv-02340-RJL Document 56 Filed 02/13/19 Page 37 of 38



                                      VI.     Conclusion

       After careful consideration of the public comments, the United States continues to

believe that the proposed Final Judgment, as drafted, provides an effective and appropriate

remedy for the antitrust violations alleged in the Complaint, and is therefore in the public

interest. The United States will move this Court to enter the proposed Final Judgment after the

comments and this response are published as required by 15 U.S.C. § 16(d).


Dated: February 13, 2019

                                                        Respectfully submitted,

                                                                     /s/
                                                        Jay D. Owen
                                                        Shobitha Bhat
                                                        Natalie R. Melada
                                                        U.S. Department of Justice
                                                        Antitrust Division
                                                        450 Fifth Street NW, Suite 4100
                                                        Washington, D.C. 20530
                                                        Tel.: (202) 598-2987
                                                        Fax: (202) 616-2441
                                                        E-mail: Jay.Owen@usdoj.gov




                                               – 35 –
        Case 1:18-cv-02340-RJL Document 56 Filed 02/13/19 Page 38 of 38



                                 CERTIFICATE OF SERVICE

       I, Jay D. Owen, hereby certify that on February 13, 2019, I caused a copy of the

foregoing document to be served upon Plaintiffs State of California, State of Florida, State of

Hawaii, State of Washington, and Defendants CVS Health Corporation and Aetna Inc., via the

Court’s CM/ECF system, and to be served upon Plaintiff State of Mississippi by mailing the

documents electronically to its duly authorized legal representative:


Counsel for State of Mississippi:
Crystal Utley Secoy
Consumer Protection Division
Mississippi Attorney General’s Office
P.O. Box 22947
Jackson, Mississippi 39225
Phone: (601) 359-4213
cutle@ago.state.ms.us



                                                                          /s/
                                                             Jay D. Owen
                                                             U.S. Department of Justice
                                                             Antitrust Division
                                                             450 Fifth Street NW, Suite 4100
                                                             Washington, D.C. 20530
                                                             Tel.: (202) 598-2987
                                                             Fax: (202) 616-2441
                                                             E-mail: Jay.Owen@usdoj.gov




                                              – 36 –
